                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION - DETROIT


 In re:                                                                    Case No. 09-75993-wsd

          CAROL JEAN WARFIELD,                                             Chapter 7

                   Debtor.                                                 Hon. Walter Shapero

 _____________________________________/

     OPINION DETERMINING THAT BANKRUPTCY PETITION PREPARER
            ENGAGED IN UNAUTHORIZED PRACTICE OF LAW
                    AND VIOLATED 11 U.S.C. § 110

          This matter came before the Court upon its Order to Show Cause Why
 Compensation of Non-Attorney Bankruptcy Petition Preparer Should Not Be Limited to
 $90.00 With Remainder of Fee to Be Turned Over to Chapter 7 Trustee Pursuant to 11
 U.S.C. § 110(h)(3)(A) (“Show Cause Order”). (Docket No. 15). A hearing was held, at
 which the Court heard testimony from the Debtor, Carol Jean Warfield, and the two non-
 attorney bankruptcy petition preparers, Derrick Hills and April Tubbs-Streeter.1 In light
 of the substance of the evidence, and the practice of law issues raised thereby, the Court
 took the matter under advisement with this opinion to follow.

                                         I. Factual Background

          In recent years, there has been an increase of bankruptcy filings in this district
 with materials prepared by non-attorney bankruptcy petition preparers. One such
 preparer is Derrick Hills. Derrick Hills has had a rather tumultuous history providing
 such services, culminating in his being enjoined throughout this district and otherwise
 “from providing any bankruptcy related services to any individuals.” (Case No. 07-4210,
 Docket No. 91). Despite this injunction, and in direct violation of it, Derrick Hills has
 continued to involve himself, directly or indirectly, with the filing of bankruptcy


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  The Show Cause Order also required the appearance of Crane & Shore, Inc., a Michigan for profit
 corporation of which Derrick Hills was an, or the, incorporator and is president, secretary, treasurer,
 director, and primary shareholder. That corporation failed to appear through counsel, as required.


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 petitions. Apparently, he does so under the belief that a corporation, Crane & Shore, Inc.
 permits him to do through it what he is enjoined from doing in his individual capacity.2
 In addition to involving his corporation in his bankruptcy preparing activities, Hills has
 also involved and/or knowingly tolerated the involvement of a number of other
 individuals, whom he refers to as his, or Crane & Shore’s, “associates.” The preparer
 involved in this case, Aprill Tubbs-Streeter, is such an “associate.”
         The Debtor in this case, Carol Jean Warfield, credibly testified as to the
 circumstances surrounding her bankruptcy filing. During 2009, Warfield was
 experiencing financial difficulties and thought filing bankruptcy might be useful. A
 friend of Warfield’s gave her a phone number which he had seen in a bankruptcy
 advertisement in an office window of a building located at 28473 Warren Rd., Westland,
 Michigan. Warfield called the number and set up an appointment for November 18,
 2009. Warfield arrived at the office on the date and time set for her appointment, and,
 after waiting for a short period, a man arrived who introduced himself as Derrick Hills.
 Hills invited Warfield to join him in a back room of the office which contained a table
 and some chairs. Hills then set about obtaining Warfield’s credit report from the internet.
 A short time later, a woman arrived at the office, whom Hills introduced as his
 “associate”, Aprill Tubbs-Streeter. Hills and Tubbs-Streeter then sat down at the table
 and Hills assisted Tubbs-Streeter in completing Warfield’s bankruptcy petition and
 schedules.
         Warfield testified that there was no discussion as to which chapter of bankruptcy
 would be filed; Hills simply decided it would be a chapter 7 filing and instructed Tubbs-
 Streeter to check the appropriate box. Indeed, Warfield testified that she did not know
 the differences between chapter 7 and chapter 13 and was unfamiliar with the forms
 being completed on her behalf.
         Warfield’s bankruptcy petition and schedules were admitted into evidence.
 Warfield testified that although she was asked some questions, the schedules were
 completed primarily as a result of Hills telling Tubbs-Streeter what to enter and working
 off of the credit report Hills had himself obtained. When shown a copy of her Schedule


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  Crane & Shore, Inc. has now itself similarly been enjoined from having any involvement in any
 bankruptcy matter. (Case No. 09-68447, Docket No. 32).


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 A, Warfield testified that she did not know the meaning of “fee simple” (which is what
 her interest in certain real property was listed as) and did not instruct Hills or Tubbs-
 Streeter to list her interest as such. When asked about Schedule C, Warfield testified that
 she does not know what an exemption is. She testified that Schedule C was completed by
 Hills giving her a sheet of paper containing information on exemption planning and then
 asking her individually as to each asset which exemption she wished to claim. Also
 included in the papers provided Warfield, was a completed petition to waive filing fee.
 Warfield testified that she did not request such a form and that Hills had provided it
 unsolicited.
          After three or four hours, Warfield’s petition and schedules were completed.
 Warfield paid $375 in cash for the services, receiving a receipt from “Crane & Shore”.3
 Warfield then left the office with her bankruptcy petition and schedules, a disclosure
 from Crane & Shore, Inc., and a list of instructions as to how to file her case.
          Warfield returned the following day to amend her schedules to add two credit
 card debts previously omitted. Apparently, Warfield had been given the impression that
 if the credit cards were omitted, they would not be within the bankruptcy and she could
 “keep them.” The source of this belief is not clear. Nonetheless, Warfield decided to add
 the credit cards to her scheduled debts and Hills assisted. Later that day, after leaving the
 office, Warfield became nervous about the bankruptcy process. She called Hills and
 expressed her anxiety with the prospect of having to do the bankruptcy by herself. Hills
 reassured her and represented that it would only involve filing the paperwork and
 attending the 341 meeting. After she filed her petition, Warfield had further questions
 about the process and contacted Hills. Warfield testified that this caused Hills to become
 annoyed and admonish her that she hadn’t “read her instructions” regarding the 341
 meeting and continuing bankruptcy process.
          Warfield testified that subsequent to November 19, 2009, she did not see Hills
 again until December 17, 2009. On the morning of December 17, 2009, a day Warfield
 was to appear before this Court for a hearing on her application to waive the filing fee,
 and, a general inquiry by the Court as to the involvement of the petition preparers in the


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  The receipt, admitted into evidence as Exhibit B, actually recited two contradictory figures: $375 and
 $400. Based on the testimony, it seems clear that $375 was the amount actually charged.


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 case, Hills appeared at Warfield’s home unannounced. Warfield testified that Hills
 produced a paper that he told her she needed to sign, that paper being a disclaimer,
 backdated to November 18, 2009, stating that Crane & Shore, Inc. cannot, and indeed did
 not in this case, provide legal advice. This paper was nearly identical to one Warfield
 had signed on November 18, 2009. She produced both papers for the Court and they
 were admitted into evidence. Warfield testified further that during his visit to her home
 on December 17, Hills instructed her to tell the Court that his involvement on November
 18 and 19, 2009 was limited to that of an observer, should the question arise at the
 hearing that afternoon.
         Following the testimony of Warfield, Hills and Tubbs-Streeter each took the
 witness stand. Hills testified, in the form of a statement, that the testimony of Warfield
 was inaccurate. Hills requested the Court take into account Warfield’s “nervous
 condition, age, paranoia, as well as the length of time that has passed” and thus discount
 her testimony, speculating that while her testimony may be sincere, it was factually
 inaccurate. With regard to the substance of Warfield’s testimony, Hills contended that he
 appeared during the completion of the schedules only as an observer, that he did not
 obtain the credit report, and that he never visited Warfield’s home. Following his
 statement, the United States Trustee attempted to question Hills, but he refused to answer,
 invoking something akin to a Fifth Amendment privilege.
         Tubbs-Streeter testified that she completed all of Warfield’s paperwork on her
 own, and that she, Tubbs-Streeter, obtained the credit report. Tubbs-Streeter further
 testified that both disclosures admitted into evidence were in fact completed on
 November 18. When asked why two nearly identical disclosures were filled out on the
 same day, Tubbs-Streeter said that Warfield initially filled out the wrong one but she let
 her keep it.
         The Court found Warfield’s testimony to be credible and consistent with the
 documentary evidence. Her answers were logical and she had no discernible motivation
 to be anything other than completely candid and truthful. Based on its observations and
 the totality of the evidence, the Court simply disbelieves the testimony of Hills and
 Tubbs-Streeter.




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                                         II. Analysis

        The primary purpose of the hearing was to determine whether the fee charged was
 reasonable, i.e., whether under 11 U.S.C. § 110(h)(3)(A) the fee charged was in excess of
 the value of the preparers’ services. However, neither Tubbs-Streeter nor Hills submitted
 any material or direct evidence or argument on that subject other than possibly the
 amount of time they spent in connection with their preparer activities and what they said
 they actually did. What the hearing made clear was that whatever else Hills and Tubbs-
 Streeter were doing, they were also knowingly engaging in the unauthorized practice of
 law and attempting to conceal it – a subject which thus necessarily became involved in,
 and not separable from, these proceedings, which are an inquiry as well into compliance
 or non-compliance with § 110.

 a. Section 110 and the unauthorized practice of law

        Section 110 was added to the Bankruptcy Code as part of Bankruptcy Reform Act
 of 1994. Its purpose is to address abuses perpetrated upon consumer debtors by non-
 attorney bankruptcy petition preparers. In re Jolly, 313 B.R. 295, 300 (Bankr. S.D. Iowa
 2004) (citing Consumer Seven Corp. v. United States Trustee (In re Fraga), 210 B.R.
 812, 816-17 (B.A.P. 9th Cir. 1997)). The rationale was explained:

        This section adds a new section to chapter 1 of title 11 United States Code to
        create standards and penalties pertaining to bankruptcy petition preparers.
        Bankruptcy petition preparers not employed or supervised by any attorney have
        proliferated across the country. While it is permissible for a petition preparer to
        provide services solely limited to typing, far too many of them also attempt to
        provide legal advice and legal services to debtors. These preparers often lack the
        necessary legal training and ethics regulation to provide such services in an
        adequate and appropriate manner. These services may take unfair advantage of
        persons who are ignorant of their rights both inside and outside the bankruptcy
        system.

 H.R. Rep. 103-834, 103rd Cong., 2nd Sess. at 40-42 (Oct. 4, 1994). While § 110 itself
 refers to “bankruptcy petition preparers,” it clearly does not permit such individuals to
 engage in activities additional to those they were able to perform prior to the section’s


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 enactment. Section 110(k) expressly provides that the section shall not be construed as
 permitting activities otherwise prohibited by law, including laws regulating the
 unauthorized practice of law. As one court explained:

        So what does § 110 tacitly permit? The answer in a nutshell is “not much.”
        Section 110 itself proscribes virtually all conduct falling into the category of
        guidance or advice, effectively restricting “petition preparers” to rendering only
        “scrivening/typing” services. Anything else -- be it suggesting bankruptcy as an
        available remedy for a debtor’s financial problems, merely explaining how to fill
        out the schedules, or answering questions about exemptions or whether a claim is
        or is not secured will invariably contravene either state laws proscribing the
        unauthorized practice of law or other more specific provisions of § 110. The only
        service that a bankruptcy petition preparer can safely offer and complete on behalf
        of a pro se debtor after the enactment of § 110 is the “transcription” of dictated or
        handwritten notes prepared by the debtor prior to the debtor having sought out the
        petition preparer’s service. Any other service provided on behalf of the debtor by
        a non-attorney (even telling the debtor where the information goes on the form) is
        not permitted under state unauthorized practice of law statutes, and so is also not
        authorized by § 110.

 In re Guttierez, 248 B.R. 287, 297-298 (Bankr. W.D. Tex. 2000). See also, In re Gomez,
 259 B.R. 379, 385 (Bankr. D. Colo. 2001) (“Congress’ clear intent was that § 110
 authorize bankruptcy petition preparers to provide only scrivener services, limited to
 clerical services such as copying and typing.”).
        Section 110 was amended as part of the Bankruptcy Abuse Prevention and
 Consumer Protection Act of 2005. As part of the amendments, § 110(e)(2) was added,
 which provides:

                (2)(A) A bankruptcy petition preparer may not offer a potential
        bankruptcy debtor any legal advice, including any legal advice described in
        subparagraph (B).
           (B) The legal advice referred to in subparagraph (A) includes advising the
        debtor--
             (i) whether--
               (I) to file a petition under this title; or
                (II) commencing a case under chapter 7, 11, 12, or 13 is appropriate;
             (ii) whether the debtor’s debts will be discharged in a case under this title;
             (iii) whether the debtor will be able to retain the debtor’s home, car, or other
        property after commencing a case under this title;
             (iv) concerning--
               (I) the tax consequences of a case brought under this title; or



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                (II) the dischargeability of tax claims;
              (v) whether the debtor may or should promise to repay debts to a creditor or
        enter into a reaffirmation agreement with a creditor to reaffirm a debt;
              (vi) concerning how to characterize the nature of the debtor’s interests in
        property or the debtor’s debts; or
              (vii) concerning bankruptcy procedures and rights.

 11 U.S.C. § 110(e)(2). The examples of “legal advice” proscribed under paragraph (e)
 themselves constituting practice of law, the addition of this paragraph did not so much
 proscribe additional activities as it illustrated clearly for non-attorney bankruptcy petition
 preparers some of the activities in which they can not lawfully engage.
        In the instant case, the credible testimony of Warfield establishes the occurrence
 of several acts proscribed by § 110(e)(2), including: (1) deciding under which chapter
 Warfield’s case would be filed; (2) determining how to characterize the nature of
 Warfield’s interest in real property; and (3) advising Warfield concerning bankruptcy
 procedures and rights. Warfield testified that there was no discussion as to which chapter
 of bankruptcy was to be filed, Hills simply decided it would be a chapter 7 filing and
 instructed Tubbs-Streeter to check the appropriate box. Indeed, Warfield testified that
 she didn’t know the differences between chapter 7 and chapter 13. The nature Warfield’s
 interest in real property listed on Schedule A was listed as “fee simple.” Warfield
 testified that she did not know the meaning of “fee simple” and that the thought to list it
 as such must have necessarily originated with Hills or Tubbs-Streeter. When the latter
 two individuals were questioned regarding the source of the term, they declined to answer
 on the ground they may incriminate themselves. The Court has no doubt that Hills and/or
 Tubbs-Streeter made the determination as to how Warfield’s interest in the real property
 would be characterized. Finally, Warfield’s testimony indicated that Hills provided
 printed instructions as to how to proceed with the bankruptcy case after the completion of
 the petition and schedules. While the Court does not know the exact scope and extent of
 these instructions provided by Hills as they were not introduced into evidence, it is nearly
 impossible to imagine any instructions regarding bankruptcy that would not concern
 bankruptcy procedures and rights and therefore violate § 110(e)(2). Moreover, aside
 from the written instructions, Hills clearly provided information regarding bankruptcy




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 procedures and rights in the telephone conversations Warfield testified occurred after the
 completion of her petition and schedules.
          While the above activities by Hills and Tubbs-Streeter are expressly prohibited by
 § 110, they also constitute the unauthorized practice of law. Unauthorized practice of law
 is prohibited by Michigan law. See M.C.L. § 600.916. Michigan does not define
 precisely what constitutes the practice of law and that task has been largely left to the
 judiciary. In re Bright, 171 B.R. 799, 801 (Bankr. E.D. Mich. 1994). In Bright, a pre 11
 U.S.C. § 110 case involving an individual preparing bankruptcy petitions and papers for a
 fee, this Court looked to Michigan case law examining the unauthorized practice of law
 in settings outside of bankruptcy, as well as case law from other courts around the
 country dealing with the issue within bankruptcy settings. The Court determined that
 several of the paralegal’s actions in that case constituted the practice of law, including,
 inter alia, showing the debtor materials regarding exemptions so that the debtor could
 decide which exemptions to claim. Much of what this Court said in that case is
 applicable in this case.
          Warfield testified that she does not know what an exemption is and that Schedule
 C was completed by Hills giving her a sheet of paper containing information on
 exemption planning and then questioning her individually as to each asset which
 exemption she wished to claim. While the Court is not privy to the exact contents of such
 paper as it was not introduced into evidence, it is clear that such practice on the part of
 Hills and Tubbs-Streeter constitutes the practice of law.
          The fact that Hills and Tubbs-Streeter caused Warfield to sign a disclosure stating
 that they were unable to, and indeed had not, provided legal advice, is immaterial in
 insulating them from the consequences of their actions. See In re Bright, 171 B.R. at 803
 (“A disclaimer that the non-lawyer is only providing ‘scrivener’ or ‘paralegal’ services is
 irrelevant if the non-lawyer in fact engages in unauthorized practice of law.”). It is
 material however that Hills had Warfield sign a second such disclosure which was
 backdated for the apparent purpose of deceiving this Court.4 This, along with the
 attempts by Hills to get Warfield to give false testimony as to his involvement in the

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  Interestingly, at the hearing the day this occurred, the debtors in almost every case Hills was associated
 with had similar disclosures with them in Court and Hills encouraged each debtor to show such to the
 Court.


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 bankruptcy process may well rise to a level so as to warrant criminal prosecution. The
 Court will refer the matter to the United States Attorney.
        For the reasons set forth above, the Court concludes that Hills and Tubbs-
 Streeter’s conduct violated § 110(k) as it constituted the unauthorized practice of law and
 it violated three of the specific prohibitions of § 110(e).



 b. Remedies

        1. Fines

        Section 110 provides several different remedies for bankruptcy petition preparers
 who violate its proscriptions. Additionally, the Court has the inherent power to sanction
 individuals engaged in the unauthorized practice of law. Section 110(i)(1) provides:

        (1) If a bankruptcy petition preparer violates this section or commits any act that
        the court finds to be fraudulent, unfair, or deceptive, on the motion of the debtor,
        trustee, United States trustee (or the bankruptcy administrator, if any), and after
        notice and a hearing, the court shall order the bankruptcy petition preparer to pay
        to the debtor--
            (A) the debtor’s actual damages;
            (B) the greater of--
               (i) $ 2,000; or
               (ii) twice the amount paid by the debtor to the bankruptcy petition preparer
        for the preparer's services; and
            (C) reasonable attorneys’ fees and costs in moving for damages under this
        subsection.

 The unauthorized practice of law constitutes a fraudulent, unfair, or deceptive act. In re
 Tomlinson, 343 B.R. 400, 407 (E.D.N.Y. 2006); Scott v. United States Tr. (In re Doser),
 292 B.R. 652, 659 (D. Idaho 2003); In re Dunkle, 272 B.R. 450, 456 (Bankr. W.D. Pa.
 2002); In re Moffett, 263 B.R. 805, 813 (Bankr. W.D. Ky. 2001). In addition to their
 unauthorized practice of law, Hills, Tubbs-Streeter and Crane & Shore’s conduct also
 falls within § 110(i)(1) because it violates the explicit prohibitions of § 110(e)(2).
        At the hearing, there was no evidence that Debtor sustained actual damages.
 Pursuant to § 110(i)(1), the Court will thus award Warfield $2,000; and Hills, Tubbs-
 Streeter and Crane & Shore, Inc. will be jointly and severally liable for payment of such.




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  The United States Trustee will be awarded its reasonable attorney fees upon the
  submission of an affidavit regarding same.

         2. Fair Value of Preparers’ Services

         Section 110(h) provides, in pertinent part:

           (2) A declaration under penalty of perjury by the bankruptcy petition preparer
           shall be filed together with the petition, disclosing any fee received from or on
           behalf of the debtor within 12 months immediately prior to the filing of the case,
           and any unpaid fee charged to the debtor. […]
             (3) (A) The court shall disallow and order the immediate turnover to the
           bankruptcy trustee any fee referred to in paragraph (2) found to be in excess of
           the value of any services--
                  (i) rendered by the bankruptcy petition preparer during the 12-month
           period immediately preceding the date of the filing of the petition; […]
                (B) All fees charged by a bankruptcy petition preparer may be forfeited in
           any case in which the bankruptcy petition preparer fails to comply with this
           subsection or subsection (b), (c), (d), (e), (f), or (g).
                (C) An individual may exempt any funds recovered under this paragraph
           under section 522(b).
             (4) The debtor, the trustee, a creditor, the United States trustee (or the
           bankruptcy administrator, if any) or the court, on the initiative of the court, may
           file a motion for an order under paragraph (2).

  Warfield paid Tubbs-Streeter, Hills, and Crane & Shore, Inc. $375 for the services
  rendered in this case. Generally with applications for compensation under the
  Bankruptcy Code, upon objection, the applicant has the burden of proof as to the
  reasonableness of the fees sought. If the Supreme Court or the Judicial Conference had
  acted under the statute to provide rules or guidelines setting maximum amounts of
  preparers’ fees (which they have not), that would not mean that fees in an amount less
  than the permitted maximums would not be subject to scrutiny as to their reasonableness.
  The clear and overriding statutory mandate that the Court disallow and require turnover
  of any fee found to be in excess of the value of any services rendered by the preparer
  would indicate such to be the case. The Court therefore believes it is the preparer’s
  burden to show that the consideration received is not in excess of the value of the services




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  provided, notwithstanding that the inquiry may have been initiated, as permitted, by the
  Court or persons other than the preparer.5
           Given that the only services which can lawfully be rendered by a bankruptcy
  petition preparer under § 110 are essentially transcription or typing, the Court would find
  any fee beyond $80 to be in excess of the reasonable value of services rendered and thus
  excessive and unwarranted. Such figure is arrived at by multiplying the approximately
  four hours spent by $20, a reasonable hourly rate for typing services.6 Of course, here,
  the petition and schedules were not typed, but handwritten. This fact is further
  illustration of exactly what was being offered by Hills and Tubbs-Streeter: legal services.
  It was not the physical act of filling out the various forms that Warfield was purchasing,
  she could have done that herself.7 Rather, it was the know-how to complete the
  schedules that she needed, and Hills and Tubbs-Streeter provided – and in doing so,
  crossed the line between legally typing a bankruptcy petition according to the affirmative
  dictates of a client, and violating the statute and/or illegally engaging in the practice of
  law.
           Pursuant to § 110(h)(3)(B), Hills, Tubbs-Streeter and Crane & Shore must
  disgorge the $375 collected from Warfield to the chapter 7 trustee because their conduct
  violated § 110(e).




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    In this particular case, irrespective of who has the burden of proof, the entire record supports the indicated
  conclusion.
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    The Court taking judicial notice of the fact that the Bureau of Labor Statistics’ May 2009 National
  Occupational Employment and Wage Estimates reports that Legal Secretaries (43-6012) earn a median
  wage of $19.16 per hour and that Secretaries, Except Legal, Medical, and Executive (43-6014) earn a
  median wage of $13.96 per hour. http://www.bls.gov/oes/2008/may/oes_nat.htm#b00-0000 (last visited
  February 10, 2010). Since a Bankruptcy Petition Preparer is not a profession included in the report the
  Court looked to fields that include similar functions, i.e., typing. Of course, secretaries perform a broader
  range of services than a Bankruptcy Petition Preparer, and, are probably able to command a higher wage in
  an efficient market where a preparer limits him or herself to the services he or she is able to lawfully
  provide, i.e. typing/scrivening. Taking into account some expense for overhead, the Court believes $20 per
  hour would be a reasonable rate for a preparer (who has not violated § 110) to charge.
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    Indeed, an individual can obtain all of the blank forms necessary for the filing of a bankruptcy free of
  charge on the Court’s website: http://www.mieb.uscourts.gov/ (last visited March 2, 2010). Moreover, a
  guide for pro se debtors is also available free of charge on the website, and possibly elsewhere.


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                                        III. Conclusion

         For the reasons set forth above, the Court finds that Hills, Tubbs-Streeter and
  Crane & Shore, Inc. engaged in the unauthorized practice of law and otherwise violated §
  110. Accordingly, (a) Hills, Tubbs-Streeter and Crane & Shore, Inc. are jointly and
  severally liable to Warfield in the amount of $2,000 pursuant to § 110(i)(1); (b) the Court
  will award the United States Trustee its reasonable attorneys fees and it shall submit an
  affidavit regarding same; and (c) Hills, Tubbs-Streeter and Crane & Shore, Inc. shall
  between them disgorge the $375 collected, and pay the same to the chapter 7 trustee
  pursuant to § 110(h)(3)(B). Said amounts shall be paid no later than April 30, 2010 and
  each of the said obligors shall file an affidavit attesting to same within three (3) days of
  the actual payment date.
         An appropriate order is being entered contemporaneously herewith.




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  Signed on March 05, 2010
                                            ____ __/s/ Walter Shapero_    ___
                                               Walter Shapero
                                               United States Bankruptcy Judge




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